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                   UNITED STATES DISTRICT COURT
                        DISTRICT OF IDAHO
                        SOUTHERN DIVISION

 UNITED STATES OF AMERICA,             Case No. 1:22-cv-329-BLW

            Plaintiff,
                                       AMICUS CURIAE BRIEF OF
      v.                               AMERICAN CENTER FOR LAW
                                       & JUSTICE IN SUPPORT OF
 THE STATE OF IDAHO,                   DEFENDANT’S OPPOSITION TO
                                       PLAINTIFF’S MOTION FOR A
            Defendant.                 PRELIMINARY INJUNCTION
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                  CORPORATE DISCLOSURE STATEMENT

      The American Center for Law & Justice is a nonprofit organization that has

no parent and issues no stock.

                             INTEREST OF AMICUS

      The American Center for Law & Justice (“ACLJ”) is an organization

dedicated to the defense of constitutional liberties secured by law. ACLJ attorneys

have argued before the Supreme Court of the United States in a number of significant

cases involving the freedoms of speech and religion. E.g., Pleasant Grove City v.

Summum, 555 U.S. 460 (2009). The ACLJ frequently participates as amicus curiae

in state and federal courts in support of the sanctity of human life. E.g., Dobbs v.

Jackson Women’s Health Org., 142 S. Ct. 2228 (2022); Zimmerman v. Texas, No.

21-0262 (appeal pending) (Tex. 2022). The ACLJ is equally committed to the

constitutional principles of state sovereignty and federalism, both of which are

threatened by the United States’ unauthorized suit challenging Idaho’s sovereign

right to establish abortion policy.

      The ACLJ submits this brief on behalf of itself and nearly 100,000 of its

supporters (including more than 1,125 in Idaho).




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                         SUMMARY OF ARGUMENT

       The Emergency Medical Treatment and Labor Act (EMTALA) requires that

hospitals receiving Medicare funds provide stabilizing medical treatment without

regard to patients’ ability to pay. The federal government illegitimately claims

authority under the Supremacy Clause to seek declaratory and injunctive relief

against Idaho’s abortion law, asserting that it might potentially conflict with

EMTALA’s requirement. No such authority exists. The federal government cannot

claim statutory authority under EMTALA because EMTALA’s enforcement

provisions contain no federal right to equitable relief. The Supremacy Clause does

not provide such authority for the simple reason that it provides no independent

cause of action. Additionally, because EMTALA is an exercise of Congress’s

spending power, EMTALA’s provisions are contractual in nature and thus, unlike

laws adopted pursuant to Congress’s other enumerated powers, are not binding on

the states.

       Under controlling Ninth Circuit precedent, the United States also lacks

implied authority to bring this suit. The federal government has implied authority to

sue only in rare situations which do not include the enforcement of spending clause

program conditions. The federal government seeks unbridled authority that strikes

at the heart of the separation of powers and comity between federal and state

governments.
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                                  INTRODUCTION

        EMTALA does not authorize federal oversight of emergency room medical

care:

        Nothing in this subchapter [including § 1395dd] shall be construed to
        authorize any Federal officer or employee to exercise any supervision
        or control over the practice of medicine or the manner in which medical
        services are provided . . . or to exercise any supervision or control over
        the administration or operation of any such institution, agency, or
        person [providing health services]

42 U.S.C. § 1395. EMTALA does not set a “national standard of medical care.”

Eberhardt v. City of Los Angeles, 62 F.3d 1253, 1258 (9th Cir. 1995). EMTALA

only requires that hospitals stabilize indigent patients with the same care afforded to

other patients. See Jackson v. E. Bay Hosp., 246 F.3d 1248, 1256 (9th Cir. 2001).

Congress enacted EMTALA, commonly known as the “Patient Anti-Dumping Act,”

in response to the growing concern about the provision of adequate hospital

emergency room medical services to the indigent and the uninsured. Jackson, 246

F.3d at 1254. Congress sought to address the practice of hospitals “dumping”

patients who were unable to pay for care, either by refusing to provide emergency

treatment to these patients or by transferring the patients to other hospitals before

the patients’ conditions stabilized. Id. (citations omitted). Codified within the Social

Security Act, EMTALA’s purpose is to condition Medicare funds on state hospital

agreements to provide stabilizing medical care to patients with emergency medical


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conditions regardless of the patient’s ability to pay. 42 U.S.C. § 1395dd. Under

EMTALA, the relevant issue is “whether the challenged procedure was identical to

that provided similarly situated patients, as opposed to whether the procedure was

adequate as judged by the medical profession.” Eberhardt, 62 F.3d at 1258.

       EMTALA does not mandate specific procedures, including abortion. 42

U.S.C. § 1395dd(c)(2)(A). EMTALA does, however, protect unborn children. It

requires stabilizing “the unborn child.” 42 U.S.C. §1395dd(c), (e); 42 C.F.R. §

489.24. Additionally, participating hospitals must evaluate and “minimize[] the risk

to . . . the health of the unborn child” when transferring the mother to another medical

facility. 42 U.S.C. § 1395dd(c)(2)(A).

       EMTALA provides that state law governs standards of care in private lawsuits

for EMTALA violations. Id. § 1395dd(d)(2). Congress clearly intended that state

law controls unless a state requirement “directly conflicts with a requirement of this

section.” Id. § 1395dd(f).

       EMTALA is enforced jointly through the Health Care Financing

Administration (HCFA) and the Office of Inspector General (OIG) of the

Department of Health and Human Services.1 Violations may result in termination of



1
  EMTALA is enforced through a complaint-based process at the state and federal level.
Complaints are received by a Health Care Finance Administration regional office (RO). See State
Operations Manual: Appendix V – Interpretive Guidelines – Responsibilities of Medicare
Participating   Hospitals    in   Emergency      Cases,   CMS.GOV         (Dec.    1,   2021),
                                           4
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the hospital’s Medicare status 2 or civil fines.3 Private rights of action are also

permitted against any individual or medical facility whose EMTALA violation

caused the plaintiff harm. State tort law governs standards of care and claims for

compensatory and punitive damages. 42 U.S.C.S § 1395dd(d)(2).

                                        ARGUMENT

       A preliminary injunction is an “extraordinary and drastic remedy.” Munaf v.

Geren, 553 U.S. 674, 689–90 (2008). It should not be awarded as of right but only

if the movant carries the burden of persuasion and demonstrates “a substantial

likelihood of success on the merits.” Winter v. NRDC, Inc., 555 U.S. 7, 20 (2008).

Here, the United States cannot carry its burden because it has no authority to bring

this lawsuit.




https://www.cms.gov/Regulations-and-
Guidance/Guidance/Manuals/Downloads/som107ap_v_emerg.pdf. The RO authorizes a state
survey agency (SA) to investigate the complaint. If the RO reviews the SA’s report and finds that
the hospital violated “one or more of the anti-dumping provisions of §1866 or 1867” of the Social
Security Act, the RO reports the violation to the Office of the Inspector General of the Department
of Health and Human Services (OIG), the Center for Medicare and Medicaid Services (CMS), and
the Office of Civil Rights.
2
  THE EMERGENCY MEDICAL TREATMENT AND LABOR ACT ENFORCEMENT PROCESS, DEPARTMENT
OF HEALTH AND HUMAN SERVICES OFFICE OF THE INSPECTOR GENERAL (Jan 2001),
https://www.cms.gov/Regulations-and-Guidance/Guidance/Manuals/Downloads/som107ap_v_
emerg.pdf.
3
  42 U.S.C. § 1395dd(d)(1)(A) (1994).

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      I.    The United States Lacks Statutory Authority to Bring this Suit.

      The federal government’s lawsuit is a transparent attempt to use Spending

Clause legislation to coerce compliance with the administration’s preferred abortion

policy by hauling a sovereign state into federal court seeking equitable relief for

violations of EMTALA that may never occur. EMTALA does not authorize the

federal government to seek equitable relief for current or prospective violations of

EMTALA—and for good reason. Spending Clause legislation, such as EMTALA,

has no preemptive force under the Supremacy Clause because it is not “law” in the

sense that state compliance is constitutionally required. The Spending Clause power

permits the federal government to induce state cooperation with federal policy where

Congress’s enumerated powers do not allow it to directly compel such cooperation.

See Nat’l Fed’n of Indep. Bus. v. Sebelius, 567 U.S. 519, 576 (2012) (“NFIB”)

(holding that Congress may use its Spending power to encourage states to take

actions that “Congress could not require them to take”). “The legitimacy of

Congress’ power to legislate under the spending power thus rests on whether the

State voluntarily and knowingly accepts the terms of the contract.” Pennhurst State

Sch. & Hosp. v. Halderman, 451 U.S. 1, 12 (1981) (emphasis added).

      Congress may only indirectly regulate state conduct by attaching “strings” to

grants of money given to state and local governments. See Agency for Int’l Dev. v.

All. for Open Soc’y Int’l, Inc., 140 S. Ct. 2082, 2091 (2020); Arizona v. Yellen, 34
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F.4th 841, 844 (9th Cir. 2022). But those “strings” are binding only as contractual

obligations, even though they are usually codified in statutes or regulations.

Armstrong v. Exceptional Child Ctr., 575 U.S. 320, 324 (2015). Thus, there is no

private cause of action under the Supremacy Clause for violation of a Spending

Clause program condition. Id. at 324 (holding that the Supremacy Clause does not

confer a right of action on Medicaid providers for equitable relief to enforce a

Medicaid provision); see also Townsend v. Swank, 404 U.S. 282, 292 (1971)

(Burger, C.J., concurring) (Spending Clause programs are “in no way mandatory

upon the States under the Supremacy Clause. The appropriate inquiry [is]. . . simply,

whether the State has indeed adhered to the provisions and is accordingly entitled to

utilize federal funds in support of its program.”); David E. Engdahl, The Spending

Power, 44 Duke L.J. 1, 71 (1994) (discrediting the “supremacy fallacy” that

Spending Clause program conditions are “Laws of the United States” to which the

Supremacy Clause applies).

      Like all Spending Clause legislation, EMTALA operates based on consent.

States cannot voluntarily and knowingly consent to Spending Clause program

conditions unless they have been “clearly told” about them. See, e.g., Cummings v.

Premier Rehab Keller, P.L.L.C. No. 20-219, 142 S. Ct. 1562, 1568 (2022) (holding

that emotional distress damages were not recoverable under Spending Clause

antidiscrimination statutes because funding recipients were not clearly told that they
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could be liable for such relief). For the states to be clearly told, program conditions

must be set forth “unambiguously.” Arlington Cent. Sch. Dist. Bd. of Educ. v.

Murphy, 548 U.S. 291, 304 (2006); Armstrong, 575 U.S. at 332. “Respecting this

limitation is critical to ensuring that Spending Clause legislation does not undermine

the status of the States as independent sovereigns in our federal system.” NFIB, 567

U.S. at 577. Otherwise, the Spending Clause power would “obliterate distinctions

between national and local spheres of interest and power by permitting the Federal

Government to set policy in the most sensitive areas of traditional state concern,

areas which otherwise would lie outside its reach.” Id. at 676 (Scalia, Alito,

Kennedy, and Thomas, JJ., dissenting) (cleaned up).

      Stealth conditions, invented by judges or the Executive branch, and untethered

to statutory text, inevitably risk federal coercion of state policy. “Congress’s power

to legislate under the spending power … does not include surprising participating

States with post-acceptance or ‘retroactive’ conditions.” Pennhurst, 451 U.S. at 25;

NFIB, 567 U.S. at 580 (holding that “post-acceptance” Medicaid expansion

provisions exceeded Congress’s Spending power because they crossed the line

“between encouragement and coercion”).

      The remedies Congress chose to enforce EMTALA do not include

authorization for the federal government to haul sovereign states into federal court

seeking equitable relief for violations that may never occur. The “express provision
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of one method of enforcing a substantive rule suggests that Congress intended to

preclude others.” Alexander v. Sandoval, 532 U.S. 275, 290 (2001); Armstrong, 575

U.S. at 324 (holding that the sole remedy Congress provided for a State’s failure to

comply with Medicaid’s requirements, a “breach” of the Spending Clause contract,

is withholding of Medicaid funds). “We have no warrant to revise Congress’s

scheme simply because it did not ‘affirmatively’ preclude the availability of a judge-

made action at equity.” Id. at 329.

      No EMTALA provision clearly and unambiguously authorizes federal

lawsuits seeking equitable relief against prospective violations that may never occur.

Permitting this suit to proceed would turn the non-coercion principle of Spending

Clause legislation on its head. There would be no limit on the federal government’s

power to swoop into federal court for the purpose of dictating state policy. The

United States’ broadside attack on federalism in this case should be repelled.

      II.    The United States Lacks Implied Authority to Bring this Lawsuit.

      For at least two decades, the Supreme Court has repeatedly declined to

recognize implied causes of action that Congress did not expressly authorize to

enforce a federal law. See, e.g., Gonzaga Univ. v. Doe, 536 U.S. 273 (2002)

(rejecting implied right of action to enforce the Family Educational Rights & Privacy

Act); Armstrong, 575 U.S. at 320 (holding that no private right of action exists to

enforce Medicaid provision). The Court firmly grounded these holdings on the
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principle that implying private rights of action that Congress has not created trenches

upon the separation of legislative and judicial power. See, e.g., Sandoval, 532 U. S.

at 286-87 (2001) (“like substantive federal law itself, private rights of action to

enforce federal law must be created by Congress”); Hernandez v. Mesa, 140 S. Ct.

735, 741 (2020) (“In later years, we came to appreciate more fully the tension

between [implying private rights of action] and the Constitution’s separation of

legislative and judicial power.”); see also New York Times Co. v. United States, 403

U.S. 713, 742 (1971) (Marshall, J., concurring) (The Constitution does “not provide

for government by injunction in which the courts and the Executive Branch can make

law without regard to the action of Congress.”) (cleaned up).

      The same principle governs federal claims of implied authority to bring suit

for equitable relief. Implied authority to bring a suit for equitable relief exists only

(1) to prevent interference with national security; (2) to defend a federal property

interest; or (3) to remove a burden on interstate commerce. See United States v.

Mattson, 600 F.2d 1295, 1299 (9th Cir. 1979) (discussing cases). Thus, even where

there are ongoing civil rights violations, the United States does not have implied

authority to bring a suit for injunctive relief against state and local government

officials. United States v. City of Philadelphia, 644 F.2d 187 (3d Cir. 1980). There,

the DOJ alleged that the City of Philadelphia, through numerous high-ranking

officials of the City and its Police Department, engaged in a “pattern or practice of
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depriving persons of rights protected by the due process clause of the fourteenth

amendment.” Id. at 190. The Third Circuit labeled the DOJ’s assertion of implied

authority “an attempt by the federal executive to intervene on a grand scale in the

workings of a local government, an area that is manifestly the concern of the states

and not the federal government.” Id. at 198. In poignant language with direct

applicability to the United States’ suit here, the court warned that

      the power which the Attorney General claims in this case is simply not
      compatible with the federal system of government envisioned by the
      Constitution. This power, in essence, would permit the Justice
      Department to bring a civil suit against any state or local administrative
      body merely because the Attorney General and his subordinates have
      determined that the defendant’s operating policies and procedures
      violate any one of the civil rights guaranteed to citizens by the
      Constitution and laws of the United States. The purpose of such a
      lawsuit would be to obtain an injunction altering the challenged
      procedures. Quite literally, there would be no end to the local and state
      agencies, bureaus, offices, departments, or divisions whose day-to-day
      operating procedures could be challenged by suit, and changed by
      injunction.

Id. at 200.

      The rule against implied authority for the federal government to bring

injunctive suits against state governments applies with equal force to spending

clause legislation conditions. Mattson, 600 F.2d at 1297. Mattson involved a DOJ

claim of implied authority to bring a suit for injunctive relief to enforce Spending

Clause program conditions intended to protect the rights of the mentally disabled.


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Id. at 1299. The relevant statute’s enforcement mechanisms were similar to

EMTALA’s: the federal government could withhold federal funds for violations, and

states could impose state law remedies. Id. at 1299–1300. The statute did not

expressly authorize the federal government to bring suit. Though the federal

government had a “keen interest” in protecting the rights of the mentally disabled,

that interest did not confer implied authority to bring suit. Id.; see also United States

v. Solomon, 563 F.2d 1121, 1129 (4th Cir. 1977) (holding that “considerations of

federalism and comity” require rejection of the United States’ claim of implied

authority to sue to enforce spending clause legislation).

      The need to protect the individual branches of government from
      intrusion is a task not to be taken lightly. Just as any potential abuse of
      the judiciary must be curbed, any attempt by the executive branch to
      encroach in an area properly reserved for Congress must be scrutinized
      with caution, for what is at stake is the equilibrium established by our
      constitutional system.

Mattson, 600 F.2d at 1301 (cleaned up).

      The United States lacks implied authority to bring this suit and its attempt to

do so violates the separation of powers.




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                                CONCLUSION

      Amicus requests that this Court deny the Plaintiff’s Motion for Preliminary

Injunction and dismiss its Complaint.


                                           Respectfully submitted,

                                           AMERICAN CENTER FOR
                                           LAW & JUSTICE

Dated: August 18, 2022                     By: /s/Jay Alan Sekulow
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                             CERTIFICATE OF SERVICE

      I hereby certify that, on August 18, 2022, a copy of the foregoing Amicus

Curiae brief was filed and served pursuant to the Court’s electronic filing procedures

using CM/ECF.



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